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                           Exhibit 1
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                                                                                    05/02/2019


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTESVILLE DIVISION

                                                         CASE NO. 3:18-cr-00025
      UNITED STATES OF AMERICA,

                         v.
                                                         MEMORANDUM OPINION
      BENJAMIN DALEY, ET AL.,                            JUDGE NORMAN K. MOON
                                    Defendants.


           This matter is before the Court upon Defendants Benjamin Daley, Michael Miselis, and

  Thomas Gillen’s motions to dismiss the indictment.1 (Dkts. 72, 73, 74). On October 10, 2018,

  Defendants were indicted on one count of conspiracy to commit an offense against the United

  States in violation of 18 U.S.C. § 371 (Count One) and one count of traveling in interstate

  commerce with the intent to riot (Count Two) in violation of 18 U.S.C. § 2101 (“Federal Anti-

  Riot Act” or “Anti-Riot Act”). (Dkt. 8). Defendants mount a sweeping attack on the validity of

  18 U.S.C. § 2101 and both counts of the indictment. Defendants’ arguments fail, and the Court

  will deny the motions to dismiss the indictment.

                                         I.       LEGAL STANDARD

           “An indictment must contain the elements of the offense charged, fairly inform a

  defendant of the charge, and enable the defendant to plead double jeopardy as a defense in a

  future prosecution for the same offense.” United States v. Palin, 874 F.3d 418, 423–24 (4th Cir.

  2017) (quoting United States v. Daniels, 973 F.2d 272, 274 (4th Cir. 1992)). “Absent a charge of

  every essential element of an offense, an indictment is invalid,” id. at 424, and “mere reference


  1
          Defendant Daley filed a motion to dismiss the indictment, (dkt. 72), which Defendants
  Miselis and Gillen joined in full. (Dkts. 73, 74). On November 30, 2018, Defendant Cole Evan
  White pleaded guilty to Count One of the indictment. (Dkt. 58). Defendant White is not a party
  to the present motion to dismiss.
                                                     1

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  to the applicable statute does not cure the defect.” United States v. Kingrea, 573 F.3d 186, 191

  (4th Cir. 2009). “When the words of a statute are used to describe the offense generally, they

  ‘must be accompanied with such a statement of the facts and circumstances as will inform the

  accused of the specific offense, coming under the general description, with which he is

  charged.’” Id. (quoting United States v. Brandon, 298 F.3d 307, 310 (4th Cir. 2002)). See also

  Fed. R. Crim. P. 7(c)(1) (“The indictment . . . must be a plain, concise, and definite written

  statement of the essential facts constituting the offense charged . . .”). In ruling on Defendants’

  motions to dismiss the indictment, the Court must accept all factual allegations in the indictment

  as true. See Boyce Motor Lines v. United States, 342 U.S. 337, 343 n.16 (1952). Moreover, the

  Court must construe the indictment in a “practical” rather than “purely technical” manner,

  “[a]pplying a liberal standard in support of sufficiency.” United States v. Matzkin, 14 F.3d 1014,

  1019–20 (4th Cir. 1994) (citations omitted).

                          II.     FACTS AS ALLEGED IN THE INDICTMENT

         Defendants are allegedly residents of California who associated with the “Rise Above

  Movement” (RAM), a “white-supremacist,” “alt-right” organization whose members allegedly

  hold “anti-Semitic, racist, and white-supremacist views and promoted violence against those they

  believed held opposing political views.” (Dkt. 8 ¶¶ 4–6). Between March 2017 and August

  2017, Defendants and other members of RAM allegedly “traveled to multiple political rallies and

  organized demonstrations in California and Virginia, where they prepared to and engaged in acts

  of violence against numerous individuals.” (Id. ¶ 7).

         Count One of the indictment alleges that beginning in March 2017, Defendants

  “knowingly and willfully” conspired to violate 18 U.S.C. § 2101 by “traveling in interstate

  commerce and using a facility of interstate commerce with intent to (a) incite a riot, (b) to



                                                  2

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  organize, promote, encourage, participate in, and carry on a riot, (c) to commit an act of violence

  in furtherance of a riot, and (d) to aid or abet” others in doing the same, all in violation of 18

  U.S.C. § 371. (Id. ¶ 9).

         Defendants allegedly committed a number of overt acts “during and in furtherance of the

  conspiracy,” including traveling to and committing one or more acts of violence at a “purported

  political rally” in Huntington Beach, California on or about March 25, 2017; “traveling in

  interstate commerce” and committing acts of violence at a “purported political rally” in

  Berkeley, California on or about April 15, 2017; purchasing flights from California to, and

  reserving lodging in, Charlottesville, Virginia for August 11–13, 2017, and then traveling in

  interstate commerce on those flights to Charlottesville; purchasing athletic tape and baseball

  helmets in Charlottesville; “obtain[ing] torches and attend[ing] a torch-lit march” on the grounds

  of the University of Virginia (UVA) on August 11, 2017, where they incited and “committed

  acts of violence in furtherance of a riot”; “attend[ing] the Unite the Right rally in and around the

  vicinity of Emancipation Park” on August 12, 2017 after “wrapping their hands with athletic

  tape,” where they incited and “committed acts of violence in furtherance of a riot”; and, finally,

  traveling on return flights to California on or around August 13, 2017. (Id. ¶¶ 10(a)-(o)).

         Count Two alleges that Defendants traveled in interstate commerce from California to

  Charlottesville on or about August 11, 2017, “with intent” to incite, organize, promote,

  encourage, participate in, and carry on a riot, commit an act of violence in furtherance of a riot,

  and aid or abet others in doing the same, and then “perform[ing] or attempt[ing] to perform”

  such acts in furtherance of a riot on August 11, 2017 on the grounds of UVA and on August 12,

  2017 in and around Emancipation Park, all in violation of 18 U.S.C. § 2101. (Id. ¶ 13).




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                                              III.       ANALYSIS

         Defendants raise numerous challenges to the validity of 18 U.S.C. § 2101 and both

  counts of the indictment. The Court addresses each argument in turn.

         A.      Judicial Notice of Kessler v. City of Charlottesville

         Defendants first ask the Court take judicial notice of various factual findings and legal

  conclusions made in Kessler v. City of Charlottesville, No. 3:17-cv-00056, 2017 WL 3474071

  (W.D. Va. Aug. 11, 2017). (Dkt. 72 at 5–7). There, Judge Conrad granted Jason Kessler’s

  motion for a preliminary injunction preventing the City of Charlottesville “from revoking the

  permit to conduct a demonstration at Emancipation Park on August 12, 2017.” Kessler, 2017

  WL, at *3. Federal Rule of Evidence 201(b) allows courts to “judicially notice” “a fact” that is

  not “subject to reasonable dispute” because the fact (1) is “generally known within the trial

  court’s territorial jurisdiction”; or (2) “can be accurately and readily determined from sources

  whose accuracy cannot reasonably be questioned.”

         The Court declines to judicially notice any specific factual findings, legal reasoning, or

  legal conclusions from Kessler.       Judicial notice of legal conclusions or legal reasoning

  concerning Kessler’s entitlement to a preliminary injunction would be inappropriate.2 See Fed.

  R. Evid. 201(b) (“The court may judicially notice a fact. . . .” (emphasis added)). Moreover,

  “[o]nly indisputable facts” are “susceptible to judicial notice.” United States v. Zayyad, 741 F.3d

  452, 463 (4th Cir. 2014). “[F]acts adjudicated in a prior case . . . do not meet either test of




  2
          Defendants frame their request as covering only the “factual background” from Kessler,
  (dkt. 72 at 5), but the list of items Defendants ask the Court to judicially notice contains several
  legal conclusions. (Id. at 6–7; see also dkt. 87 at 8).

                                                     4

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  indisputability contained in Rule 201(b).” Id.3 In taking judicial notice of records from prior

  judicial proceedings, “generally, a court will recognize only indisputable court actions, such as

  the entry of a guilty plea or the dismissal of a civil action.” In re Omnicare Inc. Sec. Litig., 769

  F.3d 455, 468 (6th Cir. 2014).4 But where, as here, parties “disagree about the meaning to be

  ascribed” to facts, judicial notice of such facts under Rule 201(b) is inappropriate. Ohio Valley

  Envtl. Coal. v. Aracoma Coal Co., 556 F.3d 177, 216 (4th Cir. 2009). See also Goldfarb v.

  Mayor & City Council of Baltimore, 791 F.3d 500, 511 (4th Cir. 2015) (declining to judicially

  notice exhibits where “parties vehemently disagree about the nature and scope” of the exhibits,

  “putting at issue basic factual matters relevant to interpreting what those exhibits mean”).

  Moreover, the Government correctly notes that the findings and conclusions at issue “reflect the

  positions of parties not involved in the present criminal case: Jason Kessler and the City of

  Charlottesville.” (Dkt. 79 at 6).

         Accordingly, the Court will judicially notice that Judge Conrad granted Jason Kessler’s

  motion for a preliminary injunction as an incontrovertible matter of public record, but will deny

  Defendants’ request for judicial notice of any specific factual finding, legal reasoning, or legal

  conclusion from Kessler as inappropriate under Federal Rule of Evidence 201(b).




  3
         Defendants argue that the Government fails to show how Judge Conrad’s factual findings
  or “explanation for [his] decision” are disputed or disputable. (Dkt. 87 at 7–8). But “[t]he party
  requesting judicial notice of the particular fact bears the burden of proving that Rule 201’s
  standard is satisfied.” Farmer v. United States, No. 5:10-cr-271, 2015 WL 12911626, at *2
  (E.D. N.C. Aug. 31, 2015).
  4
           See also Ferguson v. Extraco Mortg. Co., 254 F. App’x 351, 352 (5th Cir. 2007) (“A
  court may take judicial notice of a document filed in another court . . . to establish the fact of
  such litigation and related filings, but generally cannot take notice of the findings of fact from
  other proceedings because those facts are usually disputed and almost always disputable.”).
                                                   5

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         B.      Facial & As-Applied Challenges to 18 U.S.C. § 2101

         The bulk of Defendants’ arguments concern the facial validity of 18 U.S.C. § 2101 (the

  “Anti-Riot Act” or “Federal Anti-Riot Act”). Specifically, Defendants assert that § 2101 must be

  facially invalidated for (1) vagueness; (2) overbreadth; (3) failure to properly criminalize

  incitement; and (4) exceeding Congress’s powers under the Commerce Clause. Defendants also

  contend that § 2101 cannot constitutionally be applied to “disorders arising from political

  demonstrations.” (Dkt. 72 at 18). Before assessing these arguments, a review of the Anti-Riot

  Act’s primary provisions is in order.

         Section 2101(a) provides that:

         Whoever travels in interstate or foreign commerce or uses any facility of interstate
         or foreign commerce, including, but not limited to, the mail, telegraph, telephone,
         radio, or television, with intent (1) to incite a riot; or (2) to organize, promote,
         encourage, participate in, or carry on a riot; or (3) to commit any act of violence
         in furtherance of a riot; or (4) to aid or abet any person in inciting or participating
         in or carrying on a riot or committing any act of violence in furtherance of a riot;
         and who either during the course of any such travel or use or thereafter performs
         or attempts to perform any other overt act for any purpose specified [in (1)-(4)] . .
         . [s]hall be fined . . . or imprisoned not more than five years, or both.

         Certain terms employed in § 2101 are further defined in 18 U.S.C. § 2102. Section

  2102(a) defines “riot” as:

         [A] public disturbance involving (1) an act or acts of violence by one or more
         persons part of an assemblage of three or more persons, which act or acts shall
         constitute a clear and present danger of, or shall result in, damage or injury to the
         property of any other person or to the person of any other individual or (2) a threat
         or threats of the commission of an act or acts of violence by one or more persons
         part of an assemblage of three or more persons having, individually or
         collectively, the ability of immediate execution of such threat or threats, where the
         performance of the threatened act or acts of violence would constitute a clear and
         present danger of, or would result in, damage or injury to the property of any
         other person or to the person of any other individual.

         Section 2102(b) provides that the term “to incite a riot” or “to organize, promote,

  encourage, participate in, or carry on a riot” “includes, but is not limited to”:

                                                    6

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         [U]rging or instigating other persons to riot, but shall not be deemed to mean the
         mere oral or written (1) advocacy of ideas or (2) expression of belief, not
         involving advocacy of any act or acts of violence or assertion of the rightness of,
         or the right to commit, any such act or acts.

                 1.      Facial Validity of 18 U.S.C. § 2101

         The Court first considers Defendants’ arguments that § 2101 must be facially invalidated

  for vagueness, overbreadth, improperly criminalizing incitement, and exceeding Congress’s

  powers under the Commerce Clause.

                         i.      Vagueness Challenge

         Defendants first assert that § 2101 is void for vagueness because it “fails to give citizens

  reasonable notice and fails to provide explicit standards for law enforcement and prosecution.”

  (Dkt. 72 at 11). Defendants’ argument is two-fold. First, Defendants argue that the statute’s

  definitions of “riot,” “incite a riot,” and “organize, promote, encourage, participate in, or carry on

  a riot” are vague. (Id. at 13). Second, Defendants contend § 2101 impermissibly requires intent

  at the moment of interstate travel but not at the time of any subsequent overt acts. (Id.).

         A criminal statute is void for vagueness under the Fifth Amendment if “it fails to give

  ordinary people fair notice of the conduct it punishes, or [is] so standardless that it invites

  arbitrary enforcement.” Johnson v. United States, 135 S.Ct. 2251, 2256 (2015). “[W]hen a

  statute interferes with the right of free speech or of association, a more stringent vagueness test

  should apply.” Holder v. Humanitarian Law Project, 561 U.S. 1, 19 (2010). “But ‘perfect

  clarity and precise guidance have never been required even of regulations that restrict expressive

  activity.’” United States v. Williams, 553 U.S. 285, 304 (2008) (quoting Ward v. Rock Against

  Racism, 491 U.S. 781, 794 (1989)). See also Kolbe v. Hogan, 849 F.3d 114, 148 (4th Cir. 2017)

  (noting that a “criminal statute need not . . . spell out every possible factual scenario with

  celestial precision” (internal quotes omitted)).

                                                     7

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         The vagueness inquiry “focuses on the intractability of identifying the applicable legal

  standard, not on the difficulty of ascertaining the relevant facts in close cases.” Id. at 149. See

  also Williams, 553 U.S. at 306 (“What renders a statute vague is not the possibility that it will

  sometimes be difficult to determine whether the incriminating fact it establishes has been proved;

  but rather the indeterminacy of precisely what that fact is.”). Ultimately, the touchstone of the

  void-for-vagueness inquiry is whether the criminal statute at issue “provide[s] adequate notice to

  a person of ordinary intelligence that his contemplated conduct is illegal.” United States v.

  Hager, 721 F.3d 167, 183 (4th Cir. 2013). Thus, the Supreme Court has “struck down statutes

  that tied criminal culpability to whether the defendant’s conduct” was, for instance, “‘annoying’

  or ‘indecent’—wholly subjective judgments without statutory definitions, narrowing context, or

  settled legal meanings.” Williams, 553 U.S. at 306.5

         With respect to the term “riot,” Defendants primarily opine that the statutory definition

  covers not only “public disturbance[s] involving . . . an act or acts of violence,” 18 U.S.C. §

  2102(a)(1), but also public disturbances involving “a threat or threats of the commission” of such

  acts of violence by “one or more persons part of an assemblage of three or more persons having,

  individually or collectively, the ability of immediate execution of such threat[s].” § 2102(a)(2).

  5
          The Government contends that Defendants are barred from raising a facial vagueness
  challenge by “the rule that ‘[a] plaintiff who engages in some conduct that is clearly proscribed
  cannot complain of the vagueness of the law as applied to the conduct of others.’” Holder, 561
  U.S. at 20 (quoting Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 495
  (1982)). However, the Supreme Court has “relaxed that requirement in the First Amendment
  context.” Williams, 553 U.S. at 304 (noting that overbreadth challenges are permitted in the First
  Amendment context but nonetheless analyzing whether the statue at issue was impermissibly
  vague). See also Reno v. ACLU, 521 U.S. 844, 870–74 (1997) (analyzing whether the
  Communications Decency Act (CDA) was impermissibly vague in part because of “special First
  Amendment concerns” and in part because “the CDA is a criminal statute”); Hoffman Estates,
  455 U.S. at 495, n.7 (“[V]agueness challenges to statutes which do not involve First Amendment
  freedoms must be examined in the light of the facts of the case at hand.” (emphasis added)).
  Accordingly, due to the First Amendment implications of Defendants’ arguments, the Court will
  consider Defendants’ facial vagueness challenge.
                                                  8

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  Defendants argue that “conduct that constitutes a threat of violence that can be immediately

  executed is neither adequately defined nor does the case law provide a principled and objective

  standard to resolve its indeterminacy.” (Dkt. 72 at 12). Rather, Defendants contend, “the

  determination of whether an act constitutes a threat of violence . . . requires an abstract

  assessment of chance.” (Id.).

         This argument fails. A criminal statute is not void for vagueness simply because it

  “call[s] for the application of a qualitative standard . . . to real-world conduct; the law is full of

  instances where a man’s fate depends on his estimating rightly . . . some matter of degree.”

  Johnson, 135 S.Ct. at 2562. Moreover, the Court cannot say that whether a “public disturbance”

  involves a “threat” of an “act or acts of violence” fortified by “the ability of immediate

  execution” calls for “wholly subjective judgments without statutory definitions, narrowing

  context, or settled legal meanings.” Williams, 553 U.S. at 306. Indeed, § 2102(a)(2) is itself a

  statutory definition refining the term “riot,” and both “riot”6 and “threat”7 have settled legal



  6
          The Anti-Riot Act’s definition of the term “riot” generally tracks other legal definitions
  of the term. See Riot, Black’s Law Dictionary (10th ed. 2014) (defining a riot as (1) “[a]n
  assemblage of three or more persons in a public place taking concerted action in a turbulent and
  disorderly manner for a common purpose . . .” and (2) “[a]n unlawful disturbance of the peace by
  an assemblage of usu. three or more persons acting with a common purpose in a violent or
  tumultuous manner that threatens or terrorizes the public or an institution”). See also Alexandre
  v. City of Miami, No. 16-23064, 2018 WL 2463094, at *3 (S.D. Fla. June 1, 2018) (noting the
  “common law definition of riot” as “a tumultuous disturbance of the peace by three or more
  persons . . .”); State v. Beasley, 317 So.2d 750, 753 (Fla. 1975) (rejecting the contention “that the
  term ‘riot’ as used at common law is so vague that a citizen of common intelligence must guess
  at its meaning,” and noting that “the term probably has a better common understanding by a
  citizen tha[n] the term ‘disorderly conduct’ or ‘loitering,’” terms upheld by, respectively, the
  Supreme Court and the Fourth Circuit).
  7
         See Threat, Black’s Law Dictionary (10th ed. 2014) (defining “threat” as “[a]
  communicated intent to inflict harm or loss on another or on another’s property, esp. one that
  might diminish a person's freedom to act voluntarily or with lawful consent; a declaration,
  express or implied, of an intent to inflict loss or pain on another”). See also Virginia v. Black,
  538 U.S. 343, 359 (2003) (“True threats encompass those statements where the speaker means to
                                                    9

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  meanings. Accordingly, Defendants have failed to show that the phrase “riot” as defined by §

  2102(a) is “so vague that men of common intelligence must necessarily guess at its meaning.”

  United States v. Horma, No. 3:18-cr-18, 2018 WL 4214136, at *14 (E.D. Va. Sept. 4, 2018)

  (quoting United States v. Lanier, 520 U.S. 259, 266 (1997)).8

         Defendants next contend that the terms “incite a riot” and “organize, promote, encourage,

  participate in, or carry on a riot” are impermissibly “subjective” and “impossible to define from

  the standards set forth in the statute or the standards in the case law,” thereby “fail[ing] to give

  speakers clear guidance about the forcefulness with which they can advocate for their views

  before their expression falls within the purview of the statute.” (Dkt. 72 at 12–13).

         Here again, this argument fails, as none of these terms calls for “wholly subjective

  judgments without statutory definitions, narrowing context, or settled legal meanings.”

  Williams, 553 U.S. at 306.      Section § 2102(b) defines the terms as including “urging or

  instigating other persons to riot,” and the terms “urge” and “instigate” have settled meanings the




  communicate a serious expression of an intent to commit an act of unlawful violence to a
  particular individual or group of individuals.”); United States v. White, 810 F.3d 212, 228 (4th
  Cir. 2016) (evaluating “true threats” under an objective standard, asking “whether a reasonable
  recipient familiar with the context would consider the communicated statement a serious
  expression of an intent to do harm”).
  8
          Defendants also take issue with Congress’s inclusion of the term “clear and present
  danger” in § 2102’s definition of “riot,” arguing under Johnson v. United States, 135 S.Ct. 2551
  (2015) and Sessions v. Dimaya, 138 S.Ct. 1204 (2018) that the statute provides “no clear answer
  as to how a court should decide what [constitutes] a clear and present danger of injury to person
  or property.” (Dkt. 87 at 18). But, as noted above, the “constitutionality of laws that call for the
  application of a qualitative standard such as ‘substantial risk’ to real world-conduct” is not in
  doubt. Johnson, 135 S.Ct. at 2561. Additionally, Defendants briefly suggest that the term
  “public disturbance” in § 2102(a) is impermissibly vague, (dkt. 87 at 18), but the Court cannot
  say that this term calls for “wholly subjective judgments without statutory definitions” or
  “narrowing context” because § 2102(a)(1)-(2) adequately delineates the sort of public
  disturbances that qualify as “riots” under the Act. Williams, 553 U.S. at 306.
                                                  10

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  average citizen would understand.9 Moreover, as will be discussed in greater detail below, §

  2102(b) provides further narrowing context by stating that the terms “shall not be deemed to

  mean the mere oral or written (1) advocacy of ideas or (2) expression of belief . . . .”

  Additionally, these terms all either have a settled legal meaning (e.g., “incite”10), or would be

  understood by people of common intelligence as carrying the basic meaning of urging a riot (i.e.,

  “promote” or “encourage”11) or undertaking some action in furtherance of a riot (i.e., “organize,”

  “participate in,” and “carry on”12). “Many long established criminal proscriptions—such as laws

  against conspiracy, incitement, and solicitation—criminalize speech . . . that is intended to

  induce or commence illegal activities.” Williams, 553 U.S. at 298. Such acts criminalizing

  “proposal[s] to engage in illegal activity . . . fall[] well within constitutional bounds.” Id. at 299–

  300.   In sum, the Court cannot say that the terms “incite a riot” and “organize, promote,

  encourage, participate in, or carry on a riot” are unconstitutionally vague.

         Finally, Defendants contend that § 2101 is impermissibly vague because the requisite

  intent is “required only at the moment of [interstate] travel” but “not at the time of any

  subsequent overt acts,” thereby allowing the requisite intent to be “frozen at the moment of

  interstate travel” and to “then infect any subsequent actions that could be committed without the

  9
         See infra note 20.
  10
         See Brandenburg v. Ohio, 395 U.S. 444, 447–48 (1969).
  11
         See, e.g., Williams, 553 U.S. at 300 (noting that the term “promote” as used in statute
  criminalizing pandering and solicitation of child pornography referred to activity beyond “mere
  advocacy”); United States v. Taber, 497 F.3d 1177, 1181 (11th Cir. 2007) (“The term
  ‘encourage’ is defined, ‘[t]o instigate; to incite to action; to embolden; to help.” (citing
  Encourage, Black’s Law Dictionary (8th ed. 2004)).
  12
          See, e.g., Borden v. School Dist. of Tp. of East Brunswick, 523 F.3d 153, 167 (3d Cir.
  2008) (rejecting argument that word “participate” was “so vague that people of common
  intelligence” would have to “‘guess at [its] meaning’” in part because of the Supreme Court’s
  reliance on the term “nonparticipatory” “without a definition of what the word ‘participate’
  means” in Bd. of Educ. of Westside Cmty. Sch. v. Mergens, 496 U.S. 226 (1990)).
                                                    11

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  specific criminal intent.” (Dkt. 72 at 13). Defendants argue that this alleged “attenuation

  between the mens rea and actus reus means there is no fair warning and clearly discernible

  standard for application” of the statute. (Id.). Although this argument does not necessarily

  belong under the void-for-vagueness umbrella, it fails nonetheless.

         Section 2101(a) requires that a defendant “travel in interstate or foreign commerce or

  use[] any facility of” such commerce “with intent” to do one of the four items listed thereafter,

  and then “either during the course of any such travel or use or thereafter” perform or attempt to

  perform an overt act “for any purpose” specified on the aforementioned list. 18 U.S.C. § 2101(a)

  (emphasis added). Other courts have interpreted the statute as requiring a substantially similar

  intent both at the point of interstate travel or the use of facilities thereof and at the time of the

  requisite overt act(s),13   and the Court finds these longstanding interpretations of § 2101

  persuasive. Thus, the Court rejects Defendants’ arguments that “attenuation between the mens

  rea and actus reus” renders § 2101 void for vagueness. (Dkt. 72 at 13). To gain a conviction

  under § 2101, the Government must prove that Defendants had “an intent with a riot as the

  objective . . . at both junctures,” and that the nature of the “riot contemplated at the time of

  travel” was “sufficiently similar so that it is reasonable to say the later is the same as or the




  13
          See, e.g., United States v. Markiewicz, 978 F.2d 786, 813 (2d Cir. 1992) (noting that the
  Anti-Riot Act “requires the government to prove a defendant’s intent at two points in time—
  when the defendant uses a facility of interstate commerce with the intent to incite a riot, and
  when the defendant commits an overt act to further any of the purposes articulated in
  subparagraphs (A) through (D)”); United States v. Dellinger, 472 F.2d 340, 393–94 (7th Cir.
  1972) (holding that “an intent with a riot as the objective is required at both junctures,” and that
  the “situation, nature, and details of the riot contemplated at the time of travel” must be
  “sufficiently similar so that it is reasonable to say the later is the same as or the evolving product
  of the one intended earlier”); United States v. Hoffman, 334 F.Supp. 504, 509 (D.D.C. 1971)
  (finding that “§ 2101, when viewed with the indictment in this case, does not violate due process
  by authorizing conviction where the unlawful intent and the prohibited act do not coincide”).
                                                   12

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  evolving product of the one intended earlier.” United States v. Dellinger, 472 F.2d 340, 393–94

  (7th Cir. 1972).

         In sum, the Court rejects Defendants’ arguments that § 2101 is void for vagueness.

                        ii.    Overbreadth Challenge

         Defendants next argue that § 2101 is facially overbroad because it “regulates a substantial

  amount of protected First Amendment activity.” (Dkt. 72 at 15). Specifically, Defendants

  contend that § 2101 “impermissibly infringes on freedom of assembly” by “equat[ing] organized

  assemblies with organized violence” and “impermissibly infringes on freedom of speech.” (Id.

  at 14).14 The Government responds that § 2101 is not facially overbroad because it “only

  criminalizes violent action, threats of violence, or incitement to violence,” which “have never

  been afforded protection under the First Amendment.” (Dkt. 79 at 18–19).

         Under the “First Amendment overbreadth doctrine, a statute is facially invalid if it

  prohibits a substantial amount of protected speech.”       Williams, 553 U.S. at 292.       Since

  enforcement of an overbroad statute is “totally forbidden,” invalidation for overbreadth is

  “strong medicine” that should be used “sparingly and only as a last resort.” Am. Entertainers,

  LLC v. City of Rocky Mount, N.C., 888 F.3d 707, 715 (4th Cir. 2018) (quoting Broadrick v.

  Oklahoma, 413 U.S. 601, 613 (1973)). An overbreadth challenge only succeeds if (1) the

  challenged provision’s overbreadth is “real” and “substantial,” judged in relation to the

  provision’s “plainly legitimate sweep,” and (2) “no limiting construction or partial invalidation

  could remove the seeming threat or deterrence to constitutionally protected expression.” Id.



  14
          The Court notes that Defendants’ overbreadth argument is sparse and often conclusory,
  (see, e.g., dkt. 72 at 14–15), making it difficult to discern the exact contours of the argument.
  For instance, after a few sentences arguing that § 2101 “impermissibly infringes on freedom of
  assembly,” Defendants state without any supporting analysis or further elucidation: “Second, the
  act impermissibly infringes on freedom of speech.” (Id. at 14).
                                                 13

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  (internal quotations omitted).15 The “mere fact that one can conceive of some impermissible

  applications of a statute is not sufficient to render it susceptible to an overbreadth challenge.”

  Williams, 442 U.S. at 303 (quoting Members of City Council of Los Angeles v. Taxpayers for

  Vincent, 466 U.S. 789, 800 (1984)). Although “every reasonable construction must be resorted

  to, in order to save a statute from unconstitutionality . . . narrowing constructions are only

  appropriate when the text or other source of congressional intent indentifies a clear line that a

  court could draw.” Legend Night Club v. Miller, 637 F.3d 291, 300–01 (4th Cir. 2011) (internal

  quotations and citations omitted).

         At the outset, the Court notes that neither Defendants nor the Government have explicitly

  addressed what level of scrutiny the Court should apply to § 2101 in addressing Defendants’

  overbreadth challenge. “The level of First Amendment scrutiny a court applies to determine the

  ‘plainly legitimate sweep’ of a regulation depends on the purpose for which the regulation was

  adopted.” Am. Entertainers, 888 F.3d at 715. If the provision at issue “was adopted for a

  purpose unrelated to the suppression of expression—e.g., to regulate conduct, or the time, place,

  and manner in which expression may take place—a court must apply . . . intermediate scrutiny.”

  Id. Under intermediate scrutiny, a statute will be upheld “if it furthers an important or substantial

  governmental interest; if the governmental interest is unrelated to the suppression of free

  expression; and if the incidental restriction on alleged First Amendment freedoms is no greater

  than is essential to the furtherance of that interest.” Id.




  15
           See also New York v. Ferber, 458 U.S. 747, 769 (1982) (“When a federal court is dealing
  with a federal statute challenged as overbroad, it should, of course, construe the statute to avoid
  constitutional problems, if the statute is subject to such a limiting construction. . . . Furthermore,
  if the federal statute is not subject to a narrowing construction and is impermissibly overbroad, it
  nevertheless should not be stricken down on its face; if it is severable, only the unconstitutional
  portion is to be invalidated.”).
                                                    14

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         Before turning to this tiered-scrutiny framework, “[t]he first step in overbreadth analysis

  is to construe the challenged statute; it is impossible to determine whether a statute reaches too

  far without first knowing what the statute covers.” Williams, 553 U.S. at 293. The Court’s

  construction of § 2101 is largely informed by other judicial constructions of the Act.16 “In

  summary, Congress has made it a crime if there is an intent to promote a riot at the time of use of

  interstate or foreign facilities and at that time or thereafter, the additionally-required overt acts

  are committed.” In re Shead, 302 F.Supp. 560, 565 (N.D. Ca. 1969). “This intent must be to

  promote, and the overt acts must be committed for the purpose of promoting” a riot as defined in

  18 U.S.C. § 2102(a). Id. The overt acts covered include either acts of violence in furtherance of

  a riot, incitement of a riot, other “urging or instigating” of a riot, or aiding and abetting others in

  doing the same. See 18 U.S.C. §§ 2101(a)(1)-(4); 2102(b). As discussed in the next subsection

  concerning incitement, § 2102(b) excludes pure “advocacy of ideas” and “expressions of belief”

  from § 2101’s ambit, and the Court does not construe the §§ 2101, 2102 as proscribing the mere

  advocacy of violence. See Dellinger, 472 F.2d at 363; In re Shead, 302 F.Supp. at 566.

         Under this construction, § 2101 only regulates either violence committed in furtherance

  of a riot or the unprotected incitement or instigation of a riot. Thus, § 2101 is appropriately



  16
          Defendants attempt to dismiss the relevance of prior judicial interpretations of § 2101 by
  referring to them as a “familiar roster of four, forty-five years old cases,” (dkt. 87 at 18), but
  prior interpretations of the Act provide critical context for how the statute has been understood,
  both near the time of its passage and in the intervening decades. Defendants also opine that “the
  Government asks this Court to be the first court in 45 years to uphold the constitutionality” of §
  2101. (Dkt. 87 at 1 (emphasis in original)). But as between the parties, Defendants make the
  bolder request, asking this Court to facially invalidate a criminal statute uniformly upheld by
  other courts. Relatedly, the Government suggested at oral argument that the Court could rest
  easy with respect to Defendants’ First Amendment challenges because prosecutions under §
  2101 have been rare. This argument has no merit. See United States v. Stevens, 559 U.S. 460,
  480 (2010) (“[T]he First Amendment protects against the Government; it does not leave us at the
  mercy of the noblesse oblige. We would not uphold an unconstitutional statute merely because
  the Government promised to use it responsibly.”).
                                                    15

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  reviewed under only intermediate scrutiny.17 Am. Entertainers, 888 F.3d at 715. The Court

  finds that § 2101 “materially advances” Congress’s substantial interest in “keep[ing] the

  channels of interstate commerce free from immoral and injurious uses,” namely uses that

  facilitate riotous disturbances involving violence or threats of violence backed up by “immediate

  execution.” United States v. Gould, 568 F.3d 459, 471 (4th Cir. 2009) (quoting Heart of Atlanta

  Motel, Inc. v. United States, 379 U.S. 241, 256 (1964)); 18 U.S.C. 2102(a). See also United

  States v. Masciandaro, 638 F.3d 458, 473 (4th Cir. 2011) (noting that the “government’s interest

  in public safety” has been described as “compelling,” and citing Supreme Court decisions

  referring to the “significant governmental interest in public safety” and the “Federal

  Government’s compelling interests in public safety”).

         Moreover, § 2101 is “narrowly tailored to serve” this interest, criminalizing only travel in

  interstate or foreign commerce (or use of a facility thereof) with the requisite intent to either

  undertake acts of violence in furtherance of a riot or to engage in some form of incitement or

  instigation of a riot, coupled with either contemporaneous or subsequent overt acts committed for

  a substantially similar purpose. Am. Entertainers, 888 F.3d at 715; see also Dellinger, 472 F.2d

  at 393–94. As discussed in further detail below, § 2101 does not proscribe mere advocacy of

  violence and explicitly excludes from its ambit the “mere oral or written . . . advocacy of ideas or

  . . . expression of belief.” 18 U.S.C. § 2102(b). The Act’s proscription of use of interstate or

  foreign facilities with the intent to commit acts of violence in furtherance of a riot or to incite or

  instigate a riot, coupled with overt acts committed for those purposes, does not render the statute

  17
          Apart from statements that the Anti-Riot Act was adopted to address “social unrest in the
  nation’s cities after the assassination of Dr. Martin Luther King, Jr.” and commentary about the
  legislative intent underlying Congress’s passage of the D.C. Riot Act, (dkt. 72 at 18–19),
  Defendants have presented no evidence or argument that the Act was “adopted to burden
  disfavored viewpoints or modes of expression.” Giovani Carandola, Ltd. v. Bason, 303 F.3d
  507, 512 (4th Cir. 2002). Thus, the Court will not review § 2101 under strict scrutiny.
                                                   16

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  overbroad, as the First Amendment protects neither violence nor the incitement of violence. See,

  e.g., N.A.A.C.P. v. Claiborne Hardware Co., 458 U.S. 886, 916, 927 (1982) (noting that the

  “First Amendment does not protect violence,” fighting words “that provoke immediate

  violence,” “words that create an immediate panic,” or incitement); Ostergren v. Cuccinelli, 615

  F.3d 263, 271 (4th Cir. 2010) (noting that “incitement of illegal activity” is among “certain

  categories of ‘unprotected’ speech that may be circumscribed entirely”); Am. Life League, Inc. v.

  Reno, 47 F.3d 642, 648 (4th Cir. 1995) (noting that the “use of force or violence is outside the

  scope of First Amendment protection,” as are “[t]rue threats of force”).

         The Court finds no merit in Defendants’ contention that § 2101 “equates organized

  assemblies with organized violence” or impermissibly chills expressive conduct by “endorsing

  the prosecution of political protest.” (Dkt. 72 at 14–15). The Act does not criminalize peaceful

  protest or lawful assembly but rather targets “public disturbance[s] involving” violence or the

  threat of such violence undergirded by the “ability of immediate execution.” 18 U.S.C. §

  2102(a). Moreover, although § 2101 may well permit the prosecution of acts of violence or

  incitement thereof committed by riotous assemblages in the midst of an otherwise lawful protest,

  it does not permit the “prosecution of political protest” not involving such acts. (Dkt. 72 at 15).

  Further elucidation of this point is provided below with respect to Defendants’ as-applied

  challenge.

         In sum, the Court rejects Defendants’ argument that § 2101 is facially invalid for

  overbreadth under the First Amendment.




                                                  17

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                 iii.    Brandenburg Challenge18

         In their third facial challenge, Defendants assert that § 2101 fails to “satisfy the stringent

  First Amendment requirements for criminalizing incitement” established in Brandenburg v.

  Ohio, 395 U.S. 444 (1969). (Dkt. 72 at 15). In Brandenburg, 395 U.S. at 447–48, the Supreme

  Court invalidated the Ohio Criminal Syndicalism Act, finding that the Act’s “bald” proscription

  of “mere advocacy” of violent or lawless action violated the principle that the First Amendment

  “do[es] not permit a State to forbid or proscribe advocacy of the use of force or of law violation

  except where such advocacy is directed to inciting or producing imminent lawless action and is

  likely to incite or produce such action.” Under the Brandenburg incitement test, speech may not

  be “sanctioned as incitement to riot unless (1) the speech explicitly or implicitly encouraged the

  use of violence or lawless action, (2) the speaker intends that his speech will result in the use of

  violence or lawless action, and (3) the imminent use of violence or lawless action is the likely

  result of his speech.” Bible Believers v. Wayne Cty., Mich., 805 F.3d 228, 246 (6th Cir. 2015).

         Defendants contend that “[t]he Anti-Riot Act simply does not require imminence or

  likelihood” because a defendant’s “travel does not need to be linked in time to the rioting” and

  the “Act does not require that a riot even occur.” (Dkt. 87 at 11; see also dkt. 72 at 16–17).

  Defendants also appear to argue that the Act explicitly proscribes mere advocacy of violence,

  pointing to 18 U.S.C. § 2102(b)’s definition of “to incite a riot” or “to organize, promote,



  18
          Defendants presented their incitement arguments as a freestanding First Amendment
  challenge, rather than as part of their overbreadth challenge. (Dkt. 72 at 15–18). The
  Government analyzed Defendants’ incitement arguments as part of their overbreadth challenge.
  (Dkt. 79 at 18, n.4). Although “closely related,” (dkt. 87 at 9), the two arguments are technically
  distinct, and so the Court will analyze them separately, as Defendants elected to present them.
  See Draego v. City of Charlottesville, Va., No. 3:16-cv-00057, 2016 WL 6834025, at *20, n.18
  (W.D. Va. Nov. 18, 2016) (“An overbreadth challenge is ‘a second type of facial challenge’
  separate and apart from one on general First Amendment grounds.”) (quoting United States v.
  Stevens, 559 U.S. 460, 473 (2010)).
                                                  18

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  encourage, participate in, or carry on a riot,” which states that these terms “shall not be deemed

  to mean the mere oral or written (1) advocacy of ideas or (2) expression of belief, not involving

  advocacy of any act or acts of violence or assertion of the rightness of, or the right to commit,

  any such act or acts.” (Dkt. 72 at 16 (emphasis in original)).19

         As outlined above, to violate § 2101, a person must use a facility of interstate or foreign

  commerce with the intent “(1) to incite a riot; or (2) to organize, promote, encourage, participate

  in, or carry on a riot; or (3) to commit any act of violence in furtherance of a riot; or (4) to aid or

  abet any person in inciting or participating in or carrying on a riot or committing any act of

  violence in furtherance of a riot,” and then either during the time of “use or thereafter” perform

  or attempt “any other overt act” for any of these four purposes. 18 U.S.C. § 2101(a). Section

  2101(a)(3)—“commit[ting] any act of violence in furtherance of a riot”—plainly “requires

  action,” as does § 2101(a)(4)’s proscription of “aid[ing] or abet[ting] any person in . . .

  participating in or carrying on a riot or committing any act of violence in furtherance of a riot.”

  Dellinger, 472 F.2d at 361. Indeed, these terms all appear to “logically require that the riot

  occur, at least to the extent specified in § 2102(a)(2).” Id. The question, then, is whether to

  “incite,” “organize,” “promote,” “encourage” or aid and abet any person in “inciting” a riot

  requires a sufficiently close relationship to imminent violence or lawless action as to comply

  with the Brandenburg incitement test. See 18 U.S.C. § 2101(1), (2), (4).

         For several reasons, the Court concludes that the Act “adequately establishes the required

  relation to action” such that Defendants’ facial challenge under Brandenburg fails. Dellinger,

  19
          Defendants note this italicized portion of § 2102(b) but provide no explicit argument
  about how this language should be interpreted. (Dkt. 72 at 16). Given that other courts have
  entertained similar arguments about this phrase in prior interpretations of the Anti-Riot Act, see,
  e.g., Dellinger, 472 F.2d at 363, the Court will construe Defendants’ emphasis on this phrase as
  an argument that the Act affirmatively proscribes mere advocacy of violence or “assertion of the
  rightness of, or the right to commit,” violence. 18 U.S.C. § 2102(b).
                                                    19

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  472 F.2d at 361. First, the terms “incite,” “organize,” “promote,” and “encourage” are “treated

  alike in § 2102(b), and each ‘includes, but is not limited to, urging or instigating other persons to

  riot.’” Id. In Dellinger, the Seventh Circuit concluded that the “threshold definition of all [of

  these] categories as ‘urging or instigating’ puts a sufficient gloss of propulsion [to action] on the

  expression described.” Id. at 362. This interpretation comports with dictionary definitions of

  “urge” and “instigate.”20 Second, “the exclusion in § 2102(b) of ‘the mere oral or written (1)

  advocacy of ideas or (2) expressions of belief . . .’ can be taken to indicate an awareness by the

  drafters of the necessity of avoiding categories which do not relate to action.” Id.

         Third, § 2102(a) defines a “riot” as a “public disturbance involving” either acts of

  violence constituting a “clear and present danger” to people or property or “threats” of such

  violence by individuals with “the ability of immediate execution” of such threats, where the

  performance of the threatened acts “would constitute a clear and present danger” to people or

  property. “If the disturbances” urged or instigated must “constitute a clear and present danger,

  the overt acts themselves which are committed for that purpose, necessarily must also constitute

  a clear and present danger.” In re Shead, 302 F.Supp. at 566. Accordingly, the Court finds that

  “the conduct condemned by 18 U.S.C. [§] 2101” is “sufficiently limit[ed]” to “‘advocacy of the

  use of force or of law violation where such advocacy is directed to inciting or producing

  imminent lawless action and is likely to incite or produce such action.’”              Id. (quoting

  Brandenburg, 395 U.S. at 448)).




  20
          See, e.g., Dellinger, 472 F.2d at 361–62 (noting that “[n]early all definitions” of “urge”
  “suggest an impelling beyond mere persuasion,” and citing one dictionary definition of “urge” as
  “a pressing, impelling, seeking to influence, or overcoming some obstacle, check, or drawback to
  a certain course”); Instigate, Black’s Law Dictionary (10th ed. 2014) (defining “instigate” as
  “[t]o goad or incite (someone) to take some action or course”).
                                                   20

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         With respect to the challenged clause of § 2102(b)—noting that the terms defined there

  “shall not be deemed to mean the mere oral or written (1) advocacy of ideas or (2) expression of

  belief, not involving advocacy of any acts of violence or assertion of the rightness of, or the right

  to commit, any such act or acts”—the Court echoes prior decisions interpreting the Act in

  finding that the clause does not affirmatively criminalize mere advocacy of violence. 18 U.S.C.

  § 2102(b) (emphasis added); Dellinger, 472 F.2d at 363; In re Shead, 302 F.Supp. at 566.

  Section 2102(b) effectuates “the total exclusion of expression not involving advocacy of violence

  whether or not the intent and required overt acts fall within the coverage of 18 U.S.C. [§§]

  2101(a), 2102(a),” but this exclusion does not “require[] an interpretation that ‘mere advocacy of

  violence’ is made a crime.” In re Shead, 302 F.Supp. at 566. “Such an interpretation would

  require that the language actually used by Congress”—‘shall not be deemed to mean . . .

  advocacy of ideas . . . not involving advocacy of any act of . . . violence’—be changed by

  substituting the phrase ‘except when’ for the term ‘not.’” Id.21 Under this construction, § 2101

  is quite distinct from the Ohio Criminal Syndicalism Act, which explicitly punished mere

  advocacy of violence. See Brandenburg, 395 U.S. at 448–49; United States v. Stone, No. 10-

  20123, 2011 WL 795164, at *4 (E.D. Mich. Mar. 1, 2011) (noting same).

         Both the indictment and the possibility of a clarifying jury instruction also distinguish

  this case from Brandenburg, 395 U.S. at 448–49, where the Court noted that “[n]either the

  indictment nor the trial judge’s instructions to the jury in any way refined the statute’s bald

  definition of the crime in terms of mere advocacy not distinguished from incitement to imminent



  21
          See also Dellinger, 472 F.2d at 363 (assuming that the drafters recognized “that a truly
  inciting, action-propelling speech will include advocacy of acts of violence and assertion of the
  rightness of such acts” and therefore meant the challenged phrase to “forestall any claim by such
  speaker that in that context such advocacy and assertion constitute mere advocacy of ideas or
  expression of belief excluded under (1) and (2)”).
                                                   21

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  lawless action.” Here, nothing in the indictment or briefing indicates that the Government seeks

  to prosecute Defendants for mere advocacy of violent or lawless action unconnected to an actual

  or imminent riot. Rather, the indictment alleges that Defendants “incited, promoted, encouraged,

  participated in, and carried on in a riot, committed acts of violence in furtherance of a riot, and

  aided and abetted other persons” in doing the same at two riots that allegedly came to fruition on

  August 11–12, 2017. (See, e.g., dkt. 8 ¶¶ 10(k), 10(n)). Moreover, if this case proceeds to trial,

  the Court can instruct the jury that Defendants may only be convicted under § 2101 for

  advocating violent or lawless action, or the rightness thereof, if “such advocacy [was] directed to

  inciting or producing imminent lawless action and [was] likely to incite or produce such action.”

  Brandenburg, 395 U.S. at 447.

         In sum, the Court rejects Defendants’ facial challenge under Brandenburg.

                 iv.    Commerce Clause Challenge

         In their final facial challenge, Defendants contend that § 2101 “exceeds Congress’s

  Commerce Clause authority.” (Dkt. 72 at 20). Although Defendants concede that “existing

  precedent affirms ‘travel with intent’ statutes as valid constructions of [C]ommerce [C]lause

  authority,” they nonetheless ask the Court to “reconsider the propriety of the jurisdictional hook

  in a case such as this where the regulated conduct is local in nature.” (Id. at 21). Arguing that §

  2101 “has nothing to do with ‘commerce’ or any sort of economic enterprise,” Defendants

  analogize § 2101 to the Gun-Free School Zones Act invalidated by the Supreme Court in United

  States v. Lopez, 514 U.S. 549 (1995). (Id. at 21–22).

         This argument is devoid of merit. “Under the Commerce Clause, Congress has authority

  to regulate (1) the use of the channels of interstate commerce, (2) the instrumentalities of

  interstate commerce, or persons or things within interstate commerce, even though the threat



                                                  22

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  may come only from intrastate activities, and (3) those activities having a substantial relation to

  interstate commerce.” United States v. Gould, 568 F.3d 459, 470 (4th Cir. 2009) (quoting United

  States v. Morrison, 529 U.S. 598, 609 (2000)).        Defendants’ reliance on Lopez is entirely

  misplaced, as the Gun-Free School Zones Act was premised on Congress’s authority over

  activities “having a substantial relation to interstate commerce” (i.e., “those activities that

  substantially affect interstate commerce”). 514 U.S. at 559. By contrast, § 2101 stems from

  Congress’s power to regulate the channels and instrumentalities of interstate commerce and,

  more specifically, “persons in interstate commerce.” Gould, 568 F.3d at 471. See also Heart of

  Atlanta Motel, 379 U.S. at 256 (noting that Congress has the power to “keep the channels of

  interstate commerce free from immoral and injurious uses” (quoting Caminetti v. United States,

  242 U.S. 470, 491 (1917)); United States v. Hoffman, 334 F.Supp. 504, 509 (D.D.C. 1971)

  (upholding § 2101 as valid exercise of Congress’s power under the Commerce Clause).

         Defendants’ argument that § 2101 “seeks to punish inherently local activity” is baseless,

  as the Act plainly requires that a defendant travel in or use a facility of interstate or foreign

  commerce with the requisite intent. See 18 U.S.C. 2101(a). Indeed, Defendants concede the

  point, noting that “[t]o obtain a conviction under the Anti-Riot Act, the Government must prove

  that a defendant travelled in interstate commerce or used a facility of interstate commerce.”

  (Dkt. 72 at 20). “As a result, any defendant subject to criminal liability under” § 2101 “qualifies

  as ‘a person in interstate commerce’; and is therefore subject to regulation by Congress.” United

  States v. Dean, 670 F.Supp.2d 457, 459 (E.D. Va. 2009). Similarly, Defendants’ argument that

  the conduct alleged in the indictment “is local in nature” is belied by the plain text of the

  indictment, (dkt. 8 ¶¶ 10(f)-(h), 13), and by Defendants’ own concession that they are alleged to

  have “violated the Anti-Riot Act by traveling in interstate commerce.” (Dkt. 72 at 20).



                                                  23

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         In sum, all four of Defendants’ facial challenges of 18 U.S.C. § 2101 fail.22

         2.      As-Applied-Challenge to § 2101

         Defendants also mount an as-applied challenge, contending that the “First Amendment

  precludes § 2101 from applying to disorders arising from political demonstrations like the one

  [Defendants] attended in Charlottesville.”      (Dkt. 72 at 18).    In support of this argument,

  Defendants point to United States v. Matthews, 419 F.2d 1177, 1182 (D.C. Cir. 1969), where the

  D.C. Circuit framed the D.C. Riot Act as focusing on “mindless, insensate violence and

  destruction unredeemed by any social value and serving no legitimate need for political

  expression,” rather than “disorders []related to political demonstrations.”

         Defendants’ as-applied challenge fails. Although the indictment contains indicia that

  some protected expression may have occurred at the two alleged riots on August 11–12, 2017,

  (see, e.g., dkt. 8 ¶¶ 1–3), the indictment does not seek to punish Defendants for engaging in

  peaceful protest or pure political expression. Rather, the indictment charges Defendants with

  interstate travel followed by incitement of, and acts of violence at, the two alleged riots, as well

  as with conspiracy to commit this offense. (Id. ¶¶ 9, 10(k), 10(n), 13).

         Defendants offer no precedent to support the proposition that the First Amendment

  immunizes violence or incitement from criminal prosecution simply because such conduct

  occurs within the broader context of a political demonstration. To be sure, “[t]he right to

  peaceful protest lies near the heart of the freedom of speech,” but “[t]he use of force or violence

  is outside the scope of First Amendment protection,” Am. Life League, 47 F.3d at 648, as is

  incitement of violent or lawless action. See Holder, 561 U.S. at 43–44; Brandenburg, 395 U.S.

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          Because the Court rejects Defendants’ arguments that 18 U.S.C. § 2101 must be facially
  invalidated for vagueness and overbreadth, it also rejects Defendants’ cursory argument that
  Count One—alleging a conspiracy to violate § 2101—is, by extension, “unconstitutionally
  vague[] [and] overbroad.” (Dkt. 72 at 25).
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  at 447. See also Claiborne Hardware Co., 458 U.S. at 911–12 (noting that the mere “presence of

  protected activity” at a boycott did not “end the relevant constitutional inquiry” or prevent tort

  liability for losses “caused by violence and by threats of violence” that occurred within the

  “context of constitutionally protected activity”); Sines v. Kessler, 324 F.Supp.3d 765, 802–03

  (W.D. Va. 2018) (“Of course, peaceful picketing . . . and peaceful marching . . . are the sorts of

  expressive activities that are protected by the First Amendment . . . [b]ut the First Amendment

  does not protect violence.” (citations omitted)). Accordingly, Defendants’ argument that the

  First Amendment “precludes 18 U.S.C. § 2101 from applying to disorders arising from political

  demonstrations” is unsupported and without merit.23 (Dkt. 72 at 18).

         C.      Validity of the Indictment

         Having rejected Defendants’ facial challenges to 18 U.S.C. § 2101, the Court now turns

  to Defendants’ attacks on the indictment. Specifically, Defendants argue that the indictment

  must be dismissed because: (1) the factual allegations in Count One and Count Two are

  insufficient to state an offense under either § 2101 or 18 U.S.C. § 371; and (2) Wharton’s Rule

  prohibits Count One’s conspiracy charge under § 371. All of these arguments fail.



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          Defendants also briefly contend that “[a]s applied to [Defendants], § 2101 . . . cannot
  pass the test for incitement” because the indictment contains no allegations that Defendants’
  “subjective intent was to incite a riot” or that Defendants “‘prepared a group for violent action
  and steel[ed] it to such action.’” (Dkt. 72 at 20 (quoting Brandenburg, 395 U.S. at 444)). This
  argument is without merit, as the indictment plainly alleges Defendants possessed “intent . . . to
  incite a riot,” (dkt. 8 ¶ 13), and includes factual allegations that could bear on whether
  Defendants intended to incite a riot, such as Defendants’ alleged purchase of athletic tape and
  baseball helmets prior to the alleged August 11, 2017 riot on the grounds of UVA, (id. ¶ 10(i)),
  and alleged “wrapping [of] their hands with athletic tape” prior to the alleged August 12, 2017
  riot in and around Emancipation Park, (id. ¶ 10(l)). Moreover, as discussed in the next
  subsection, the Government is not required to define terms like “incitement” in exquisite detail,
  and the indictment’s factual allegations of incitement are sufficient to give Defendants notice of
  the charges against them. Finally, because the Court rejects Defendants’ as-applied arguments
  with respect to § 2101, it also rejects Defendants’ cursory as-applied argument regarding Count
  One’s conspiracy charge under 18 U.S.C. § 371. (Dkt. 72 at 25).
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                    1.   Counts One & Two – Sufficiency of Factual Allegations

         Defendants contend that both Count One and Count Two of the indictment contain

  insufficient factual allegations to state an offense. Because the bulk of this argument is discussed

  in relation to Count Two, which alleges the violation of § 2101 underlying the conspiracy charge

  in Count One, the Court begins with Count Two. Defendants aver that Count Two contains

  insufficient factual allegations that Defendants incited or participated in a riot, committed acts of

  violence in furtherance of a riot, aided and abetted others in the same, or traveled in interstate

  commerce with the specific intent of doing any of these things. (Dkt. 72 at 7–10). This

  argument fails.

         Count Two “contain[s] the elements of the offense charged, fairly inform[s] [Defendants]

  of the charge, and enable[s] [Defendants] to plead double jeopardy as a defense in a future

  prosecution for the same offense.” Palin, 874 F.3d at 423–24.              Count Two alleges that

  Defendants “travelled in interstate commerce from California to Charlottesville” “[o]n or about

  August 11, 2017,” (dkt. 8 ¶ 13), and the indictment elsewhere makes clear that this travel took

  place in the form of “commercial flights . . . from Los Angeles and San Francisco.” (Id. ¶ 10(h)).

  Count Two further alleges that Defendants travelled “with intent” to incite, organize, promote,

  encourage, participate in, carry on, and commit an act of violence in furtherance of a riot, as well

  as to aid and abet others doing the same. (Id. ¶ 13). Lastly, Count Two alleges at least two overt

  acts committed “in furtherance of a riot” after the aforementioned interstate travel, namely

  inciting, promoting, encouraging, participating in, and carrying on in a riot, and committing “acts

  of violence in furtherance of a riot” (1) “[o]n or about the evening of August 11, 2017, on or

  around the grounds of [UVA],” and (2) “[o]n or about August 12, 2017, in and around the

  vicinity of Emancipation Park.” (Id. ¶¶ 13(a)-(b); see also id. ¶ 10 (listing all alleged over acts)).



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         Count Two’s factual allegations cover “every essential element of” the Anti-Riot Act.

  Kingrea, 573 F.3d at 191. Moreover, Count Two does not “simply parrot[] the language” of the

  Act. Brandon, 298 F.3d at 310. Although Count Two is not as factually detailed as Defendants

  would like,24 it provides a “statement of the essential facts constituting the offense charged,” and

  any recitation of the statutory language is “accompanied with such a statement of the facts and

  circumstances” surrounding Defendants’ interstate travel and overt acts as to effectively “inform

  the accused of the specific offence” charged. Id. (emphasis in original). See also United States

  v. Witasick, No. 4:07-cr-00030, 2008 WL 1924023, at *2 (W.D. Va. Apr. 28, 2008) (noting that

  indictments are only defective if they “fail to specify the nature of the accusations, rather than

  merely omitting evidentiary details regarding a ‘purely factual issue.’”). Although Defendants

  are correct that the indictment does not spell out the statutory definitions for “riot,” inciting” a

  riot, or “promoting” a riot, (dkt. 87 at 4–5), Defendants cite no authority establishing that such

  definitional precision is required. The indictment “fairly inform[s]” Defendants of the charge

  that they travelled in interstate commerce with the requisite intent and committed overt acts in




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          Specifically, Defendants opine that the factual allegations in Count Two do not “identify
  the contours of the ‘riot’ that is alleged to be at the heart of these charges,” contain “any specific
  facts” regarding acts of violence Defendants committed, “establish” that Defendant “did or said
  anything” to incite a riot, “sufficiently allege that [Defendants] participated in or carried on in a
  riot,” allege that that Defendants traveled in interstate commerce with the requisite intent, or
  specifically allege that Defendants aided or abetted anyone in relation to a riot. (Dkt. 72 at 9–
  10). As described above, many of these conclusory arguments are belied by a plain reading of
  the indictment, which specifically alleges that Defendants travelled in interstate commerce with
  the requisite intent, (dkt. 8 ¶ 13), as well as when and where the alleged riots and overt acts
  occurred, (see, e.g., id. ¶¶ 10, 13(a)-(b)). The Government need only provide the “essential
  facts” of the charged offense under Fed. R. Crim. P. 7(c)(1), and the indictment here meets that
  standard. Moreover, the indictment need not “enumerate every possible . . . factual theory of
  defendants’ guilt,” United States v. Am. Waste Fibers, Co., Inc., 809 F.2d 1044, 1047 (4th Cir.
  1987), or spell out the exact “method by which the crime was committed.” Stroud v. Polk, 466
  F.3d 291, 297 (4th Cir. 2006).
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  furtherance of two alleged riots on August 11–12, 2017, (dkt. 8 ¶ 13). Palin, 874 F.3d at 423.

  No more is required.

         With respect to Count One’s charge of a conspiracy to violate § 2101, Defendants argue

  that this count “does not allege sufficient facts to establish that [Defendants] knowingly and

  voluntarily participated in an agreement with the intent to commit a criminal objective.” (Dkt.

  72 at 24 (emphasis in original)). Moreover, Defendants further contend that Count One must be

  dismissed because it “fails to allege any of the elements of the [underlying] Anti-Riot offense.”

  (Dkt. 87 at 3–4). The essential elements of 18 U.S.C. § 371 are “(1) an unlawful agreement

  between two or more people to commit a crime; (2) that the defendant knowingly and willingly

  participated in that conspiratorial endeavor; and (3) an overt act committed in furtherance of the

  conspiracy.” United States v. Mbendeke, 750 F. App’x 202, 204 (4th Cir. 2018) (quoting United

  States v. Vinson, 852 F.3d 333, 352 (4th Cir. 2017)). See also United States v. Cone, 714 F.3d

  197, 213 (4th Cir. 2013) (same).

         Here again, Defendants’ arguments are contradicted by a plain reading of the indictment.

  Count One plainly alleges that Defendants “knowingly and willfully conspire[d], combine[d],

  confederate[d], and agree[d] together” to violate the Anti-Riot Act. (Dkt. 8 ¶ 9). The indictment

  further alleges numerous overt acts committed in furtherance of the conspiracy. (Id. ¶¶ 10(a)-

  (o)). Moreover, Count One plainly alleges the elements of the underlying Anti-Riot Act offense.

  (Id. ¶ 9). Although Defendant may be dissatisfied with the level of factual detail provided in

  Count One, “[t]he Supreme Court has held that where conspiracy is the ‘gist of the crime’ all that

  is necessary in the indictment is that the object of the conspiracy be set forth sufficiently to

  identify the offense which the defendant is charged with conspiring to commit.” Matzkin, 14

  F.3d at 1019 (citing Wong Tai v. United States, 273 U.S. 77, 81 (1927)). Count One satisfies that



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  standard. Thus, the Court finds Count One’s factual allegations sufficiently specific to state an

  offense under 18 U.S.C. § 371.

         In closing, the Court notes that, although Defendants raise many complaints about the

  indictment’s factual specificity, Defendants nowhere explicitly contend that the indictment is so

  vague or factually deficient that they cannot mount a defense or “plead the Double Jeopardy bar

  to reprosecution if [they are] later charged with the same offense.” United States v. Am. Waste

  Fibers, Co., Inc., 809 F.2d 1044, 1046 (4th Cir. 1987) (identifying these as “the dual purpose of

  an indictment”). Moreover, Defendants have not moved for a bill of particulars, which is the

  “proper course” if “the indictment does not provide enough information to enable [Defendants]

  to prepare [their] defense.” Id. (noting that an “indictment notifies” a defendant “of the offenses

  with which [he] has been charged,” while the “bill of particulars, if granted, serves to supply the

  evidentiary details needed to prepare a defense”).

         In sum, “[a]pplying a liberal standard in support of sufficiency,” the factual allegations in

  both Count One and Count Two are sufficiently specific to state an offense under § 371 and §

  2101, respectively. Matzkin, 14 F.3d at 1019.

                 2.     Count One – Wharton’s Rule Challenge

         Defendant’s final argument with respect to Count One is that “Wharton’s Rule bars a

  separate conspiracy charge where the underlying crime requires collective action,” a

  circumstance Defendants contend is present here because under the Anti-Riot Act, a riot requires

  the concerted action of at least three people. (Dkt. 72 at 22). This argument is baseless.

         Under Wharton’s Rule, “[a]n agreement by two persons to commit a particular crime

  cannot be prosecuted as a conspiracy when the crime is of such a nature as to necessarily require

  the participation of two persons for its commission.” United States v. Ruhbayan, 406 F.3d 292,



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  300 (4th Cir. 2005) (quoting Iannelli v. United States, 420 U.S. 770, 774 n. 5 (1975)). “Thus, a

  person cannot, under Wharton’s Rule, be prosecuted for conspiracy to commit such offenses as

  adultery, incest, bigamy, or dueling—the classic Wharton’s Rule offenses—since the substantive

  offense necessarily requires concerted criminal activity.” Id.

         For three reasons, Wharton’s Rule does not Count One’s separate conspiracy charge

  against Defendants under 18 U.S.C § 371. First, Wharton’s Rule “does not apply where, as here,

  a crime is capable of being committed by one person.” United States v. Rashwan, 328 F.3d 160,

  165 (4th Cir. 2003). Although the Anti-Riot Act defines a riot as a public disturbance involving

  “an assemblage of three or more persons,” 18 U.S.C. § 2102(a), the underlying crime of traveling

  with the requisite intent followed by an overt act in furtherance of a riot can plainly be

  committed by a single person. See 18 U.S.C. § 2101(a) (“Whoever travels in interstate or foreign

  commerce . . . .”) (emphasis added). Second, Wharton’s Rule is only “aimed at activities where

  the immediate consequences of the crime rest on the parties themselves rather than on society at

  large.” Ruhbayan, 406 F.3d at 300. Here, unlike crimes such as bigamy or adultery, the

  consequences of traveling in interstate commerce and engaging in overt acts in furtherance of a

  riot fall “on society at large,” rather than on Defendants only. Id.

         Third, “courts have specifically exempted from Wharton’s Rule conspiracies that involve

  more people than are required for commission of the substantive offense,” an exemption known

  as the “third party exception.” Rashwan, 328 F.3d at 164. Here, the charged conspiracy

  involves four defendants, (dkt. 8 ¶ 1), but the substantive offense under § 2101 can be committed

  by a single person, so the third party exception applies and precludes application of Wharton’s

  Rule. In sum, this argument is wholly without merit.




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                                       IV.       CONCLUSION

         For the foregoing reasons, Defendants’ motions to dismiss the indictment, (dkts. 72, 73,

  74), have been denied in full. An appropriate accompanying order has issued. (Dkt. 97). The

  Clerk of the Court is directed to send a certified copy of this memorandum opinion and the

  accompanying order to all counsel of record.

         Entered this _____
                      2nd day of May, 2019.




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